John Montgomery a witness, after qualifying himself on the voiredire, proved the sale of the lumber to Boyd, and swore that the credit was given to him. He knew that the lumber was to build a house for one M'Glivet, but Boyd built the house by contract, and the credit was given exclusively to him. The entry on plaintiff's books was,
             "William Boyd Dr. (for Anthony M'Glivet.")
The witness was an agent for Quinby, in the sale of the lumber. Sometimes made out bills in his own name. M'Glivet has failed. *Page 142 
 Hamilton, for defendant contended, that the lumber was sold by Montgomery as his own, and sold to M'Glivet. And he proved by M'Glivet's assignee that Montgomery had placed a bill in his hands for this lumber, telling witness that he had told Mr. Boyd that he was willing to take a part of his account. He did not propose to this witness to come in for a dividend of M'Glivet's estate. The bill was rendered in Montgomery's name, and he afterwards brought suit in his name which was struck off, and the present action brought, as Mr. Hamilton urged, to enable Montgomery to be a witness.
Mr. Bayard, however, explained that the bringing the first suit was his own mistake, which he was led into by the informality of the account, not having seen his client.
                                            The plaintiff had a verdict.